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                         IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

SEKIGUCHI CO., LTD.,

        Plaintiff,                                           Case No.: 1:18-cv-7420

   v.                                                        Judge John Robert Blakey

THE PARTNERSHIPS AND UNINCORPORATED                          Magistrate Judge Maria Valdez
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

        Defendants.

                              SATISFACTION OF JUDGMENT

         WHEREAS, a judgment was entered in the above action on January 9, 2019 [40], in

favor of Plaintiff and against the Defendants Identified in Amended Schedule A. Plaintiff

acknowledges payment of an agreed upon damages amount, costs, and interest and desires to

release this judgment and hereby fully and completely satisfy the same as to the following

Defendants:

                NO.                                 DEFENDANT
                139                                 Devil AKUMA
                257                                 make lavender

         THEREFORE, full and complete satisfaction of said judgment as to above identified

Defendants is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.
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